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                     UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF TEXAS (DALLAS)

  IN RE:                    .       Case No. 19-34054-11(SGJ)
                            .
  HIGHLAND CAPITAL          .       Earle Cabell Federal Building
  MANAGEMENT, L.P.,         .       1100 Commerce Street
                            .       Dallas, TX 75242-1496
                            .
            Debtor.         .       Monday, September 12, 2022
  . . . . . . . . . . . . . .       9:40 a.m.



  TRANSCRIPT OF HEARING ON MOTION TO WITHDRAW PROOF OF CLAIM #146
                   BY HCRE PARTNERS, LLC (3443) AND
    REORGANIZED DEBTOR'S (A) OBJECTION TO MOTION TO QUASH AND FOR
                  PROTECTION [DOCKET NO. 3464] AND
   (B) CROSS-MOTION TO ENFORCE SUBPOENAS TO ENFORCE SUBPOENAS AND
                     TO COMPEL A DEPOSITION (3484)

                  BEFORE HONORABLE STACEY G. JERNIGAN
              UNITED STATES BANKRUPTCY COURT CHIEF JUDGE




  TELEPHONIC APPEARANCES:

  For Highland Capital        Pachulski Stang Ziehl & Jones LLP
  Management, L.P.:           BY: JOHN MORRIS, ESQ.
                              780 3rd Avenue, 34th Floor
                              New York, New York 10017


  For NexPoint Real           Hoge & Gameros, L.L.P.
  Estate Partners LLC         BY: CHARLES W. GAMEROS, JR., ESQ.
  f/k/a HCRE Partners         6116 North Central Expressway
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   Proceedings recorded by electronic sound recording, transcript
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  (3443)

  FOR THE DEBTOR:

  James Dondero
    Direct Examination by Mr. Gameros                             40/43


  FOR HCRE:

  (None)

  REORGANIZED DEBTOR'S (A) OBJECTION TO MOTION TO QUASH AND FOR
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  FOR THE DEBTOR:

  (None)

  FOR HCRE:

  (None)




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  FOR HCRE:

  (None)


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  FOR HCRE:

  (None)




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                                                                             4
 1        (Proceedings commenced at 9:40 a.m.)

 2              THE COURT:    All right.   We have a setting this

 3 morning in Highland Capital, Case Number 19-34054.           We have

 4 both a motion to withdraw proof of claim of HCRE Partners, LLC,

 5 as well as the reorganized debtor's objection to a motion to

 6 quash and cross-motion to enforce subpoenas.

 7              All right.    So let's start by getting lawyer

 8 appearances, please.       For HCRE, who do we have appearing?

 9              Let me get appearances first from the main parties.

10 For the debtor this morning, who is appearing?

11              MR. GAMEROS:    Good morning, Your Honor.      Bill Gameros

12 for NexPoint Real Estate Partners f/k/a HCRE.

13              THE COURT:    All right.   Thank you.

14              For Highland, who do we have appearing this morning?

15              MR. MORRIS:    Good morning, Your Honor.      John Morris,

16 Pachulski Stang Ziehl & Jones for Highland Capital Management,

17 L.P.

18              THE COURT:    Good morning.

19              All right.    I'm guessing these are our only

20 appearances.    These are the only parties involved who filed

21 pleadings.    If there is anyone who felt the need to appear, go

22 ahead.

23        (No audible response)

24              THE COURT:    All right.   Well, I don't know if you all

25 have talked about the sequence we are going to take things this



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                                                                            5
 1 morning.    Obviously, the first filed motion is HCRE's motion to

 2 withdraw proof of claim.      But we have a discovery dispute and I

 3 think -- well, we've got Highland objecting to the motion to

 4 withdraw the proof of claim, but I think the backup argument is

 5 at the very least let us take discovery before you rule on the

 6 motion to withdraw proof of claim.

 7             So have you all talked about who's going to go first

 8 on this one?

 9             MR. GAMEROS:    Your Honor, we haven't spoken about it,

10 but it makes sense to me that if we withdraw the proof of

11 claim, it moots everything else.       And I think that's really

12 what we ought to do, take it all at one time.

13             THE COURT:    All right.   Mr. Morris, do you agree on

14 that sequence?

15             MR. MORRIS:    I'm happy to cede the podium and let Mr.

16 Gameros go first since he filed the first motion, but I do

17 think that Your Honor had your finger on the pulse that before

18 -- either the motion should be denied for the reasons set forth

19 in our papers or we should be permitted discovery.

20             THE COURT:    All right.

21             With that, Mr. Gameros, I'll hear your opening

22 statement and hear what your evidence is going to be.

23             MR. GAMEROS:   We didn't file any evidence today.       We

24 just simply want to withdraw the proof of claim.         I think that

25 we've satisfied the Manchester factors.



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                                                                         6
 1             Quite frankly, there's only been the filing of the

 2 proof of claim and a scheduling order entered.         Since I've been

 3 involved in it, we've only had the scheduling order entered.

 4 Anything else that's happened in this case was a motion to

 5 disqualify that precipitated our appearance.         We filed the

 6 motion to withdraw.      There's no summary judgments pending, no

 7 dispositive motions pending.

 8             Quite frankly, we've looked at it as the company

 9 continued to operate.      The things we were worried about

10 happening didn't happen.      And as a result, we decided we don't

11 need the proof of claim, we don't want to continue it because I

12 think we satisfy Manchester.      If the Court has any concerns at

13 all, A, the debtor's reorganized so proceeding with our proof

14 of claim or withdrawing it doesn't affect it and, B, you can

15 conditionally withdraw with a forecredudous [sic] order

16 withdrawing the proof of claim.

17             But, quite frankly, I don't think we could amend it

18 and we passed the claims bar date.       So the Court should simply

19 allow NexPoint Real Estate Partners to discontinue pursuing a

20 proof of claim that they don't want to continue anymore.

21 Everything else falls after that.       That's it.

22             THE COURT:    All right.   Well, assuming the Manchester

23 factors apply here, you're not going to have any evidence on

24 any of these factors?

25             MR. GAMEROS:    I don't believe that we need to have



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                                                                         7
 1 evidence on those.     The only one that could possibly be at

 2 issue is one that the debtor might be able to bring but they

 3 haven't, and that's actual legal prejudice.

 4             The withdrawal of the proof of claim here essentially

 5 says they win.     And they've objected to our proof of claim, and

 6 now we're withdrawing it.      So the proof of claim is resolved in

 7 their favor except we're withdrawing it instead of going

 8 through all of the exercise to get to a hearing where we don't

 9 want to pursue the proof of claim anymore.

10             THE COURT:    All right.   But is it a withdrawal that

11 you seek with prejudice with any bells and whistles about

12 future preclusion of litigation?

13             MR. GAMEROS:   Your Honor, the proof of claim -- I

14 know the Court knows this, it's its own type of proceeding.

15 This isn't a adversary proceeding or a different kind of

16 lawsuit.    It's simply a proof of claim, and we know we're not

17 going to be able to amend it, we're not going to be able to re-

18 assert it because it's after the bar date.         That's why the

19 Court should allow the withdrawal and, to the extent the Court

20 wishes to condition it, condition it with prejudice.         That's

21 it.

22             THE COURT:    Mr. Morris, I'll hear from you.

23             MR. MORRIS:    Thank you, Your Honor.

24             Before I begin, I'd like to move into evidence

25 Exhibits 1 through 6 that appear at Docket 3485 and 3486.



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                                                                  Appx. 01414
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                                                                           8
 1 They're mirror images of each other.        They're duplicates of

 2 each other, Your Honor.

 3              But because our motion -- our objection to the motion

 4 for a protective order and the cross-motion to compel were

 5 filed as one document, the Court had us file it basically twice

 6 so that one is serving as the objection to the motion for the

 7 protective order and the other is serving as the cross-motion

 8 to compel.    And so you'll see at Dockets 3485 and 3486

 9 duplicate declarations from me with Exhibits 1 through 6.

10              THE COURT:    All right.   Any objections?

11              MR. GAMEROS:    Your Honor?

12              THE COURT:    Any objection?

13              MR. MORRIS:    And then -- and then, Your Honor?

14              THE COURT:    I'm sorry, I did not hear what Mr.

15 Gameros said.

16              MR. GAMEROS:    Your Honor, we don't object.

17              THE COURT:    All right.

18              MR. GAMEROS:    We don't necessarily believe it's

19 relevant, but we don't object to its admission.

20              THE COURT:    All right.   They'll --

21              MR. MORRIS:    And then, Your Honor, we've got --

22              THE COURT:    Docket -- Exhibits 1 through 6 are

23 admitted.

24              Go ahead.

25       (Debtor's Exhibits 1 through 6 admitted into evidence)



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                                                                    Appx. 01415
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                                                                            9
  1            MR. MORRIS:    And then at Docket 3488 we have another

  2 declaration under my signature with Exhibits 1 through 16,

  3 which are offered in opposition to HCRE's motion to withdraw

  4 their proof of claim.

  5            THE COURT:    Any objection?

  6            MR. GAMEROS:    No, Your Honor.

  7            THE COURT:    Okay.   Those exhibits and that

  8 declaration are admitted, as well.

  9       (Debtor's Exhibits 1 through 16 admitted into evidence)

10             MR. MORRIS:    So, Your Honor, if I may, please, you

11 know, the lack of evidence and the dismissiveness with which

12 HCRE is approaching this proceeding is alarming.

13             We have litigated for two years.       We were forced to

14 move and litigate vigorously a motion to disqualify our prior

15 counsel even though we put into evidence a document that said

16 Wick Phillips represents Highland Capital Management.          We were

17 still forced to do that.      We were forced to engage in expert.

18 We were forced to have a hearing on this.

19             We have gone through discovery not once but twice.

20 We have fulfilled every single obligation that were were

21 required to fulfill under the scheduling orders.          We have

22 engaged in two rounds of written discovery.         We have offered up

23 every witness that has been noticed.        We have produced

24 thousands of pages of documents.

25             We took discovery from third parties, and this is



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                                                                  Appx. 01416
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                                                                            10
  1 really important for a number of reasons, Your Honor.         We

  2 served subpoenas on BH Equities.      BH Equities is not subject to

  3 the jurisdiction in Dallas, so we served the subpoena.         We took

  4 the deposition.

  5            They can't be compelled to testify at a hearing.

  6 HCRE chose not to ask any questions.       The accounting firm, they

  7 chose not to ask any questions.      Discovery is over, okay.      I

  8 hear Counsel talk about the proof of claim.        We need -- and

  9 this is where the prejudice comes in.       We need an order on the

10 merits.    We need to know that HCRE is never going to challenge

11 again Highland's 46.06 percent interest in SE Multifamily.

12 That's what we need, because that's what we were about to get

13 and they know that.      And that's why they're folding their tent.

14             We informed them that we were moving for summary

15 judgment.     In fact, just seven days before they filed their

16 motion, we negotiated a stipulation in order to extend the

17 expert discovery deadline so that they could file an expert

18 report while preserving Highland's ability to move for summary

19 judgment.     HCRE knew this when it filed its motion.

20             Discovery is now closed.     There's only three things

21 left to do.     There's four things left to do: take the

22 deposition of Mr. Dondero, Mr. McGraner (phonetic) and HCRE and

23 have a hearing on the merits.

24             I want to say right now, Your Honor, Highland is

25 willing to forego its right to move for summary judgment.           We



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                                                                  Appx. 01417
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                                                                          11
  1 don't need to take that step.      Let's just proceed.     This motion

  2 should be denied.    They offer no evidence whatsoever.       Let's

  3 just proceed with the three depositions because discovery is

  4 otherwise closed and let's have a one-day trial live in your

  5 courtroom, Your Honor.     We could have this done in six weeks.

  6            The legal prejudice is enormous.       We've set it out in

  7 our papers.    Our evidence supports it.     But I want to just

  8 highlight a few things.     Again, I hear vagueness here.      I hear

  9 you can dismiss the proof of claim with prejudice, but somehow

10 I get the feeling from their papers from the cases that they

11 cited to, from the quotations that say just because we get a

12 tactical advantage doesn't mean that the motion should be

13 denied, just because we may choose to file this in a different

14 forum.

15             And that's the question that I really hope the Court

16 will ask Mr. Gameros.      Is HCRE waiving its right to ever

17 challenge this again because if you can't get an unambiguous

18 answer to that question, the motion must be denied because

19 that's the prejudice.

20             But there's more prejudice, too.       They've taken our

21 deposition and based on what Mr. Gameros just told you, based

22 on what's in their papers, they perceive something that

23 happened in that deposition as being advantageous to them.           If

24 this Court were to consider dismissing this case with

25 prejudice, it should do so on the condition that that



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                                                                  Appx. 01418
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                                                                         12
  1 transcript cannot be used for any purpose at any time anywhere

  2 because otherwise it's not fair, otherwise we've been

  3 prejudiced by them being permitted to take our deposition but

  4 foreclosing us from taking their deposition.         Either the

  5 playing field needs to be level or that deposition transcript

  6 should never see the light of day.

  7              That's condition number two, not just the dismissal

  8 with prejudice here, we need an ironclad commitment that HCRE

  9 is irrevocably waiving its right to challenge Highland's

 10 interest in SE Multifamily because that would be the result if

 11 this went to trial.     And that transcript of Mr. Seery as

 12 Highland's 30(b)(6) witness should never see the light of day

 13 because they're playing games.      They want to use that for some

 14 other purpose.     And if they want to do that, that's fine, but I

 15 get to take their depositions.      The playing field has to be

 16 level, Your Honor.

 17              We have spent hundreds of thousands of dollars on

 18 this case.    The excuse that they're giving, the reason that

 19 they're giving for dismissing the case at this time makes no

 20 sense whatsoever.     There's nothing in the proof of claim,

 21 nothing in the pleadings.      There will never be any evidence.

 22              There's no affidavit suggesting that Highland was

 23 interfering with SE Multifamily, that Highland threatened to

 24 interfere with SE Multifamily, that until this motion was filed

 25 that HCRE had any concerns whatsoever that Highland would be



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                                                                   Appx. 01419
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                                                                           13
  1 engaging in wrongful conduct.      There will never be any evidence

  2 whatsoever that HCRE ever took any steps to protect itself from

  3 this so-called interference that they're now so fearful of.

  4              And I do want to -- I have to ask this question, Your

  5 Honor.    If HCRE believed that they were at risk on Wednesday,

  6 August 10th, so that they had to take Mr. Seery's deposition,

  7 what happened after that that caused them 48 hours later to

  8 file this motion with no notice whatsoever?

  9              It's not right, Your Honor.    So let me get to the

 10 substance.    This is not a motion under Rule 41.       Under Rule 41,

 11 plaintiffs sometimes have the right, the unilateral right to

 12 withdraw a pleading.     HCRE has no right to that today.       Rule

 13 3006 is very clear.     When there is a proof of claim that is

 14 contested, the proof of claim can only be withdrawn with court

 15 approval after a hearing and subject to whatever conditions the

 16 Court decides are appropriate.

 17              And that's to protect the integrity of the process.

 18 And that's what we're asking the Court to do, to protect the

 19 integrity of the claims resolution process.

 20              It is a fact-intensive inquiry.      In this district, as

 21 HCRE has pointed out, there is precedent, the Manchester case,

 22 that sets forth a long list of factors that a court could

 23 consider in the face of such a motion.       As we explain in our

 24 opposition, we believe that every single one of those factors

 25 weighs in favor of denying the motion.



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                                                                   Appx. 01420
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                                                                           14
  1              I'm going to go through just a bit of it, Your Honor,

  2 because I think it's very important that everybody see exactly

  3 what's happening.     In contrast to the lack of evidence by HCRE,

  4 we have all of the exhibits that have just been admitted into

  5 evidence here.     The claims stated, the proof of claims, start

  6 with the proof of claim, stated that some or all of Highland's

  7 interest in SE Multifamily might be the property of HCRE.

  8         It's a proof of claim that was signed by Jim Dondero.         It

  9 was signed under the penalty of perjury.          There is no good-

 10 faith basis for that proof of claim to have been filed, none

 11 whatsoever.    If you take a look at their response to Highland's

 12 initial objection which can be found at Exhibit 7 on the

 13 initial docket, we'll put it up on the screen jut -- here's

 14 Exhibit 7 from Docket Number 3488.

 15              And this is HCRE's response.    And if we can go to

 16 Paragraph 5.    This is the -- this is really their response

 17 here.    And it says:

 18              "After reviewing what documentation is available to

 19              HCRE with the debtor, HCRE believes the

 20              organizational documents relating to SC Multifamily

 21              improperly allocates the ownership percentages of the

 22              members thereto due to mutual mistake, lack of

 23              consideration, and/or the failure of consideration.

 24              As such, HCRE has a claim to reform, rescind, or

 25              modify the agreement."



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                                                                         15
  1              This is their proof of claim, that there was some

  2 mistake that happened in the drafting of the SE Multifamily

  3 documents.    There is no good-faith basis for this proof of

  4 claim.    There is no good-faith basis for this response that's

  5 up on the screen.     And let me show you why.

  6              If Your Honor had an opportunity to review BH

  7 Equities' deposition transcript, at least the portions that we

  8 specifically cited to, BH Equities is a truth third party.

  9 They're the only third party that is a member of SE

 10 Multifamily.    I took their deposition.     They retained Dentons.

 11 They produced documents.      They acted professionally.

 12              And their witness testified up, down, and sideways

 13 that from their perspective, it was a bilateral negotiation

 14 with them on one side and the grand Highland on the other side

 15 and that Highland drafted the ultimate agreement, the amended

 16 and restated LLC agreement.

 17              It's an issue that is not in dispute.      Highland

 18 drafted the document.     People working on the Highland platform

 19 in the spring of 2019 when Mr. Dondero was in control, solely

 20 in control of Highland and HCRE.

 21              So they say in that response and in the proof of

 22 claim that the allocation, the allocation is the allocation of

 23 the membership interest in SE Multifamily, they say, oh my

 24 goodness, that allocation was wrong because Highland only put

 25 in $49,000.    And Mr. Dondero signed the agreement.



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                                                                            16
  1             Let's take a look just quickly at Exhibit 5, and

  2 let's see how it's possible that Mr. Dondero could swear under

  3 oath that he made a mistake.      If we can go to Schedule A.

  4             Take a look at this, Your Honor.        This is Schedule A.

  5 It's about a page or two after Mr. Dondero's signature.           It has

  6 the percentage interest that he says was a mistake as if he

  7 didn't know the capital contribution that Highland put in.            And

  8 if we got to a trial, Your Honor, we would show that Highland

  9 actually reached into its pocket for the $49,000.          HCRE, in

 10 contrast, borrowed all the money, even though Highland was on

 11 the hook for the obligations to Key Bank.

 12             But, nevertheless, here it is.        It's in plain, plain,

 13 plain terms.    The numbers are next to each other.        It's not

 14 just the percentage interest.      It shows the capital

 15 contribution.     I'd be really interested in asking Mr. Dondero

 16 did he review this.     I suspect he'll say no because that's what

 17 he usually says.     But doesn't that scream fraud?       How do you

 18 say you made a mistake when the numbers are on that page?           I

 19 don't understand it.

 20             Yet, we've spent two years and hundreds of thousands

 21 of dollars litigating this case.       But here's the thing, Your

 22 Honor, it's not just in Schedule A.       If we could go to Section

 23 1.7 earlier in the agreement.

 24             And remember, this is a document that BH Equities

 25 says was drafted by Highland.      Look at 7; 7 is company



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                                                                           17
  1 ownership.    That's the name of the section.       Again, HCMLP has

  2 46.06 percent.     Is that a mistake?    How did this -- somebody

  3 should explain how this mistake happened.

  4              Let's go to Section 6.1.    Section 6.1 is critical,

  5 and we'll see this in a moment.       This is what's known as the

  6 waterfall.    It shows how the distributions of cash from SE

  7 Multifamily are going to be made to its members.         And you'll

  8 see in Section 6.1A that after certain things occur, cash is

  9 going to be distributed 46.06 percent to Highland.         Another

 10 mistake, I guess, without explanation.

 11              Section 9.3.   Section 9 deals with liquidation and

 12 termination, and 9.3 is effectively the waterfall that's

 13 supposed to be in place upon a liquidation.         And at the bottom

 14 of the waterfall in 9.3(e), not surprisingly, you see the exact

 15 same allocation.

 16              So the allocation that Mr. Dondero swore under oath

 17 was the result of a mutual mistake was an allocation that

 18 appears in four separate places in a document that was drafted

 19 by people under his authority.      Think about that.     It's

 20 extraordinary.     We spent two years litigating this case, and

 21 now they just want to go home.

 22              But wait, there's so much more, Your Honor.         I'm not

 23 going to go through all of it, but I want to just show you two

 24 other documents because these numbers are not in this document

 25 by accident.    They're there on purpose.



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                                                                         18
  1             If we could go to Exhibit Number 11.

  2             So if you've seen from our papers and at all, Your

  3 Honor, Highland presented an initial draft of the amended and

  4 restated agreement to BH Equities on March 14th.         It had to be

  5 completed by March 15th in order t make it retroactive to the

  6 prior August because that's for tax reasons.         And you'll see up

  7 on the screen there's an email exchange from Mr. Broaddus at

  8 Highland to a fellow named Dusty Thomas at BH Management.

  9             And it's two emails.    The first one is sent on the

 10 afternoon of March 15th.      And the important point is a little

 11 bit down where he says: "The contributions schedule in the

 12 attached needs to be updated with the actual contribution

 13 numbers."

 14             So this is Highland telling BH Equities that the

 15 contribution schedule, which is Schedule A, needs to be updated

 16 so that the actual contribution numbers are in it.         This is the

 17 mistake.    This is the mistake, right.     And notice that Mr.

 18 McGraner, I'm told is one of the Apex employees, he's got

 19 notice of this.     He know exactly what's happening, right.

 20             And Mr. Broaddus follows up.      He follows up the next

 21 day and says the contribution schedule is attached.         Well,

 22 let's take a look at what the contribution schedule is, if we

 23 can go to the next page.      Look at that.

 24             It's the same contribution schedule that appears in

 25 the final agreement.     And this is just critical, Your Honor,



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                                                                   Appx. 01425
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                                                                         19
  1 because this shows that Highland, people working at the

  2 direction of Highland are preparing this document and it's a

  3 stand-alone document.     So it's not as if somebody can say, gee,

  4 you know, it got lost in the sauce, it was deep in the details,

  5 deep in the weeds and I just missed it.

  6              The very purpose of the sending of this document was

  7 to show the other counterparty, BH Equities, exactly what the

  8 capital contribution and percentage interest were going to be,

  9 not just the percentage interest but the capital contributions.

 10              Later on that day, if we can go the next document,

 11 Exhibit 13.    BH Equities was very concerned about the

 12 waterfall.    They wanted to make sure that they were going to

 13 get back their capital before other distributions were made.

 14 And you can see here this is an email from Mr. Thomas back to

 15 Mr. Broaddus where he raises this issue, and I'll just kind of

 16 cut to the chase.     Attached to Mr. Thomas' email was a proposal

 17 that BH Equities had made the prior fall with respect to the

 18 waterfall.

 19              There's no dispute that Mr. Broaddus on behalf of

 20 Highland, the big Highland, rejected BH Equities' proposal.

 21 And if we can go the prior page and see exactly what they did

 22 in response.    Instead, you can see Mr. Chang, Freddie Chang,

 23 another member of the Highland complex, with a very private

 24 email to Mr. Broaddus, right, BH Equities isn't even copied on

 25 it.   And he comes up, it's labeled 6.1, but this is what



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                                                                   Appx. 01426
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                                                                          20
  1 becomes -- it's labeled 1.1, but this is what becomes 6.1 in

  2 the actual agreement.      This is the waterfall.     This is Mr.

  3 Chang and Mr. Broaddus exchanging an email with a new version

  4 of the waterfall that they wanted.       And the new version that

  5 they wanted shows in Section 1.1(a) here that Highland was

  6 going to get 46.06 percent of the distributable cash as set

  7 forth therein.

  8              A mistake?   A mutual mistake when people working

  9 under Mr. Dondero's direction drafted these documents in

 10 specific -- as part of a negotiation?       This is about the only

 11 thing that was the subject of a negotiation.

 12              And, of course, there's more because if you take a

 13 look at the deposition transcript that we cited from BH

 14 Equities from BH Equities' perspective, Section 1.7, 6.1, and

 15 9.3 and Schedule A all reflects the parties' intent.         And that

 16 deposition is closed, right.      I mean they chose not to ask any

 17 questions.    They didn't challenge that.     There is no good-faith

 18 basis for this proof of claim to have ever been filed.          And

 19 that, Your Honor, is the definition of vexatiousness, and that

 20 is one of the Manchester factors.

 21              Another one of the factors is the extent to which the

 22 suit has progressed.      Other than the depositions that they

 23 unilaterally shut down, the only thing left was either a

 24 summary judgment motion or a trial.       Again, discovery is over.

 25 Highland has fulfilled its obligations.       There is nothing left



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                                                                   Appx. 01427
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                                                                           21
  1 to do here except to take three depositions and have a trial on

  2 the merits.    So the suit has progressed far.

  3              Duplicate of expense of re-litigation, are we really

  4 going to do this again?      Are they really going to get the

  5 benefit of new discovery in a new lawsuit somewhere else that's

  6 not a proof of claim but that somehow tries to recraft it

  7 because we've seen stuff like this before from Mr. Dondero.

  8 He's going to say, oh, that was just a proof of claim, that's a

  9 different standard that somehow, you know, I can bring a

 10 different claim in a different court at a different time.

 11 We're going to do this again?      I hope not.

 12              How about the adequacy of the explanation?      They

 13 concluded that Highland wasn't interfering.         Where was the

 14 evidence that Highland ever interfered?       Where was the evidence

 15 that Highland ever threatened to interfere?         Where was the

 16 evidence that HCRE ever expressed a concern that Highland would

 17 interfere?    Where's their application to the Court for some

 18 kind of protective order or some type of protection, some type

 19 of injunction relief to prevent us from interfering?         There's

 20 nothing.

 21              HCRE filed this -- and I'll have to speculate here

 22 because they're not -- I don't thing they're being candid with

 23 the Court.    They filed it because they hoped to do this trial

 24 in a different forum at a different time elsewhere.

 25              They're shutting it down because they know that their



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                                                                   Appx. 01428
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                                                                         22
  1 witnesses are going to be asked questions that are going to

  2 further buttress Highland's claims to breach of contract, going

  3 to get into some serious tax questions where even BH Equities

  4 wouldn't even rely on the K-1s that HCRE caused to be prepared.

  5 Really tough questions.

  6             I know they want to get out now, but they never

  7 should have filed the proof of claim.       And forcing Highland to

  8 go down this path to incur this expense, to take our deposition

  9 and then try to shut the door, can't think of a better fact

 10 scenario for the denial of a 3006 motion than we have here.

 11             Look at just what happened in the seven days before

 12 they filed their motion because it is extraordinary, and I

 13 didn't even put everything in the papers because one of the

 14 things I forgot to put in is Mr. Gameros sent to me seven days

 15 before the motion the 30(b)(6) notice for Highland.         So that's

 16 sent on August 5th.

 17             On August 5th, we finish negotiating and sign a

 18 stipulation that extends the expert discovery deadline to allow

 19 them to call an expert which we think had no merit which is why

 20 we reserve the right on the motion to strike because we don't

 21 think -- as described to us at the time, but nevertheless, we

 22 reserved our right to either make a motion to strike or to

 23 proceed right to summary judgment.       It's all in the stipulation

 24 that we negotiated, that we signed on behalf of the clients,

 25 and that Your Honor's approved just two days before this is



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                                                                   Appx. 01429
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                                                                         23
  1 filed.

  2              I think Mr. Seery's deposition was the 10th.       At 4:00

  3 on the 9th, HCRE produced over 4,000 pages of documents like

  4 six weeks after the deadline, right.       And Counsel and I spent

  5 the next 24 hours -- you know, I was pretty upset, I'll admit

  6 it, but you've got -- you know, it's in the record, you know,

  7 what my written responses were.       And I tried very hard to avoid

  8 motion practice, and I tried very hard as I always do to try to

  9 come to a reasonable resolution.       And we actually got to that

 10 point just moments before Mr. Seery's deposition.         And then

 11 they take Mr. Seery's deposition.

 12              So think about it.   They serve a 30(b)(6) notice,

 13 they take a deposition, they produce 4,000 pages of documents,

 14 they negotiate and sign a stipulation to extend the discovery

 15 deadline, the Court takes the time to review the stipulation,

 16 orders it.    All of this happens within seven days of their

 17 motion, two days after they take Mr. Seery's deposition and

 18 just two days before I'm scheduled to take their client's

 19 depositions.

 20              Based on the complete lack of evidence on HCRE's part

 21 and the evidence that I've just shown the Court, we believe the

 22 Court should simply deny the -- deny all three motions, you

 23 know what I mean?     Let's just cut to the chase, let's take

 24 three substantive depositions, and let's set a trial date.

 25 That, I believe, is the most appropriate result here.



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                                                                   Appx. 01430
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                                                                           24
  1              If the Court is not inclined to rule on the motion to

  2 withdraw, the Court should then deny the motion for a

  3 protective order and grant our cross-motion to compel the

  4 depositions on this motion.      I assure the Court that if the

  5 Court decides to follow that path, my questioning will be

  6 limited to the Manchester factors.       And I won't get into the

  7 substance because that wouldn't be ripe.

  8              The first question is whether or not they have a

  9 right to -- whether the Court should grant their motion to

 10 withdraw, and I will limit my questioning if we go down, you

 11 know, option B to those questions, to the Manchester questions,

 12 right.    There's no question that we have the right to

 13 discovery.    They filed a motion.     We filed an objection.     We

 14 now have a contested matter under the bankruptcy rules.          We're

 15 entitled to discovery.

 16              I want to address, I guess, on this topic some of the

 17 issues that were raised in the motion for the protective order.

 18 They say, oh, we didn't serve the witnesses.         That's easily --

 19 well, first, I would point out that if you looked at Exhibit 1,

 20 you know, Counsel previously accepted service of subpoenas on

 21 Mr. Dondero and Mr. McGraner's behalf.       Maybe he's got an

 22 explanation why he did it before but he won't do that now.          But

 23 if that's the way HCRE wants to do it, we'll hire professional

 24 process servers that can -- that give us a couple of weeks and

 25 we'll find them.     We'll find them.    And if not, we'll get the



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                                                                   Appx. 01431
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                                                                            25
  1 adverse inference.

  2             They said we didn't give enough time, that we didn't

  3 take into account their scheduling.        Just look at Exhibit 4,

  4 Your Honor.    I specifically wrote to Counsel, it's there in

  5 writing.    You know, it's there in writing.       If you need an

  6 accommodation, let me know.         Let me know if the dates and times

  7 work.    I have flexibility.    I told him that in writing.       And

  8 yet, the reason the Court should enter a protective order is

  9 because we didn't give them sufficient time or we wouldn't take

 10 into account their schedules.

 11             We've got all the time now, Your Honor.       I'm actually

 12 not available next week, but after that, I can take these

 13 depositions any time the last week of September, the first week

 14 of October, whatever is convenient for them.         That is no reason

 15 to grant a protective order.

 16             And then, finally, this notion that, you know, Mr.

 17 McGraner and Mr. Dondero are some Apex employees, Your Honor,

 18 HCRE has no employees.      None.    Mr. Dondero signed the original

 19 LLC agreement.     He signed the amended LLC agreement.      He signed

 20 the proof of claim.     Who else should I be deposing?      Mr.

 21 McGraner owns a substantial interest of HCRE.         He's on the

 22 emails that show he had contemporaneous knowledge that people

 23 working in the Highland complex were drafting Schedule A in a

 24 manner that was ultimately accepted not just by Highland and

 25 HCRE but by a third party, BH Equities.



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                                                                   Appx. 01432
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                                                                            26
  1             There's nobody to depose other than Mr. McGraner and

  2 Mr. Dondero.    I mean I guess Mr. Ellington, I haven't thought

  3 about that.    He is a five percent owner.        But for a company

  4 with no employees, who else am I supposed to depose?

  5             Finally, Your Honor, I've taken probably enough time

  6 here.    But option C, right, I think this just be denied

  7 outright.    If not, we should at least be permitted to get some

  8 discovery before the Court rules on the motion.          Option C, if

  9 the Court really wants to dismiss this -- grant the motion in

 10 any respect, there ought to be severe conditions on it.

 11             It has to be a dismissal on the merits.        It has to be

 12 a dismissal that pays Highland its reasonable legal fees

 13 incurred for this waste of time.       And it has to be conditioned

 14 on the fact that Mr. Seery's deposition transcript will be

 15 barred from use in any proceeding going forward or they have

 16 got to show up for the depositions to level the playing field.

 17             So that's where we are, Your Honor.        Three choices.

 18 You know, they're in the order that we think are most

 19 appropriate.    But I've got nothing further at this point, Your

 20 Honor.

 21             THE COURT:   All right.    A couple of questions for

 22 you.

 23             You've represented as an officer of the Court that

 24 your client, the estate, has incurred hundreds of thousands of

 25 dollars of attorneys' fees and costs relating to this proof of



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                                                                    Appx. 01433
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                                                                          27
  1 claim.     Is that correct?

  2              MR. MORRIS:    Yes, Your Honor.

  3              THE COURT:    Okay.   And I'm just curious, did this

  4 claimant, HCRE, file other pleadings during the Highland case,

  5 like objections to the plan or -- I remember discovery disputes

  6 when Wick Phillips was involved in the main case.         But I'm just

  7 curious, did you look at other times they may have participated

  8 as a party, a creditor?

  9              MR. MORRIS:    In all candor, Your Honor, I haven't --

 10              THE COURT:    Okay.

 11              MR. MORRIS:   -- looked at that.     My memory, which

 12 could be wrong, my memory is that they did file other things,

 13 although it's possible I'm just confusing it with Wick Phillips

 14 representing different entities of Mr. Dondero.         But I believe

 15 that Wick Phillips was involved in other matters.         I think HCRE

 16 filed other things, but I don't know off the top of my head.

 17              THE COURT:    Okay.   So the representation that

 18 hundreds of thousands of dollars were spent on this proof of

 19 claim dispute, I mean you're zeroing in on this proof of claim

 20 dispute.    Is that correct?

 21              MR. MORRIS:   One hundred percent limited to this

 22 proof of claim.

 23              I mean think about what we did here, Your Honor.        We

 24 had a whole litigation over Wick Phillips.         Both sides retained

 25 experts.    We took fact discovery.     We participated in written



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                                                                    Appx. 01434
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                                                                           28
  1 discovery, something that never ever should have happened.            But

  2 we were forced to do that, and I do include that as part of

  3 this.

  4              What else have we done?    Because I think it's -- I

  5 think Your Honor's asking a fair question, like how do you get

  6 to that number.     Before the Wick Phillips' disqualification

  7 motion and the reason that we got to that point is we had

  8 engaged in written discovery.      And this is back in the spring

  9 of 2021.    We served, you know, document requests, we served

 10 requests to admit, we served interrogatories.         All of that was

 11 answered.

 12              We produced thousands of pages of documents at that

 13 time.    And it was in preparing for the depositions that were

 14 then scheduled that we saw in the documents the conflict that

 15 Wick Phillips had.     So we went though that whole process

 16 throughout the rest of 2021, completely unnecessary.           Just

 17 completely unnecessary, but nevertheless, we did.         We

 18 prevailed.

 19              New counsel came in in January and did nothing,

 20 right.    It took us six months to get to a scheduling order.         It

 21 took me almost three months to get them to respond at all.            But

 22 we did the whole thing again, and we went through more written

 23 discovery and more interrogatories and more requests to admit

 24 and more document requests.      And we produced more documents.

 25              We served subpoenas on Mark Patrick, on BH Equities,



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                                                                    Appx. 01435
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                                                                             29
  1 on Baker Vigotto, the accounting firm that prepares the tax

  2 returns at the direction of HCRE on behalf of SE Multifamily.

  3 There's lots of negotiations in there.       There's -- I mean Your

  4 Honor can see just how many times depositions were scheduled

  5 and rescheduled and rescheduled again to accommodate

  6 everybody's summer and business, right.

  7             So we took the deposition of Mr. Patrick.          We took

  8 the deposition of Barker Vigotto.       We took the deposition of BH

  9 Equities.    We defended Mr. Seery and his deposition.         We took

 10 the time to prepare for that.       We were reviewing the 4,000

 11 documents that they produced belatedly, right.         We're

 12 marshaling our evidence, getting ready for our summary judgment

 13 motion.    We're negotiating amendments to scheduling orders at

 14 HCRE's request.

 15             Yeah, we spent several hundred thousand dollars, Your

 16 Honor, for sure.

 17             THE COURT:   Okay.

 18             All right, Mr. Gameros, do you have cross-examination

 19 of Mr. Morris?

 20             MR. GAMEROS:    I don't have cross-examination of Mr.

 21 Morris.    I'd just like to respond to a few points if I could.

 22             Is that permitted, Your Honor?

 23             THE COURT:   Oh, yes.    I mean this was your chance to

 24 cross-examine Mr. Morris since he submitted a declaration with

 25 exhibits.    But if you decline to do that, I think Mr. Morris --



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                                                                     Appx. 01436
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                                                                            30
  1             MR. GAMEROS:    Cross-examine Mr. Morris, Your Honor?

  2             THE COURT:    Just -- Mr. Morris, the reorganized

  3 debtor rests, right?      I got the impression you were resting?

  4             MR. MORRIS:    Yes, Your Honor.

  5             THE COURT:    All right.

  6             MR. MORRIS:    Yes.

  7             THE COURT:    Mr. Gameros, now your chance for

  8 rebuttal.

  9             MR. GAMEROS:    All right.

 10             First, in terms of hundreds of thousands of dollars

 11 of fees and the activity level since my firm appeared in

 12 January of 2022, I think we need to look back at the

 13 disqualification proceeding and remember that the estate was

 14 denied its request for attorneys' fees on the disqualification

 15 and that's in this Court's order.

 16             If we proceed to trial, they won't be entitled to

 17 attorneys' fees for winning, if they do.          There's no claim here

 18 that entitles the estate to shift its attorneys' fees to

 19 NexPoint.    None.

 20             And I think that's important.      The relief that he's

 21 asking for, Your Honor, if you listen to what the estate's

 22 requesting, it wants to limit the use of Mr. Seery's

 23 deposition.    It wants to have a trial.      Now apparently they may

 24 not move for summary judgment.      Okay.   Things that they would

 25 like, but all they get is a ruling on a proof of claim.           And



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                                                                    Appx. 01437
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                                                                           31
  1 we've already said the Court should allow us to withdraw the

  2 proof of claim and condition it with prejudice.

  3             There is no other lawsuit out there.        There is no

  4 other position being taken anywhere.       Frankly, Your Honor, the

  5 reason why I said admit the exhibits and I question their

  6 relevance is because none of them go to actual legal prejudice.

  7 Can't show it, hasn't shown it, hasn't demonstrated it.           It

  8 says they did a lot of work, gave you the greatest hits of some

  9 email, but quite frankly, Your Honor, that goes to merit, not

 10 legal prejudice.     That goes to, I believe, part of their story

 11 as to what happened.

 12             The story that matters to me is we think things were

 13 going to happen during the estate, he's right.          We didn't move

 14 for them.    We looked back at it and said we don't need the

 15 proof of claim anymore, we should withdraw it.          That's the only

 16 thing that's happened, and that's why we're here.          We don't

 17 think he's entitled to discovery as to why we withdrew the

 18 proof of claim.

 19             It's his burden to show legal prejudice.        He can show

 20 it or he can't.     He hasn't.

 21             THE COURT:   Okay.

 22             MR. GAMEROS:    The estate hasn't.

 23             THE COURT:   Mr. Gameros?

 24             MR. GAMEROS:    (Indiscernible) Mr. Dondero.

 25             THE COURT:   I have a question.       I mean I'm looking at



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                                                                    Appx. 01438
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                                                                            32
  1 your pleading, your motion to withdraw the proof of claim, and

  2 I'm looking at this wonderful chart you have on Page 7 saying

  3 here are the standards under Bankruptcy Rule 3006, you, Court,

  4 should consider.     They were articulated in the Manchester case.

  5              And it's not merely about is there any prejudice to

  6 the estate.    I mean you set forth five factors.        One is "reason

  7 for dismissal."     One is diligence in bringing the motion to

  8 withdraw.    One is undue vexatiousness.     One is the matter's

  9 progression including trial preparation.          One is duplication of

 10 expense of relitigation.

 11              This is your own authority, which I believe actually

 12 is correctly articulating the standards.          It's not just about

 13 prejudice.    Yes, I agree that some of the case law has zeroed

 14 in on that one in particular.      But I mean you say yourself

 15 reason for dismissal is a factor the Court must consider.

 16              MR. GAMEROS:   That's correct, Your Honor.      Those are

 17 the factors, and I think our analysis on them is correct.

 18              If we go all the way to trial and the result is that

 19 our proof of claim is denied, we're in the same position we are

 20 right now.    So why should the parties, the estate, and the

 21 Court go through that exercise?

 22              THE COURT:   Okay.   Well, that's another issue, I

 23 think, other than the reason for dismissal.          But a follow-up

 24 question to what you just said is this.

 25              Would you agree to a condition on the withdrawal of



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                                                                    Appx. 01439
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                                                                            33
  1 your proof of claim that your client agrees that Highland has a

  2 46-point whatever it was percent interest in SE Multifamily

  3 Holdings and your client waives any right in the future to

  4 challenge that interest?

  5             MR. GAMEROS:    Your Honor, if that's what the Court

  6 wants to put in an order and I have a chance to confer with my

  7 client on it, I'm pretty sure that would be agreeable.

  8             THE COURT:    Today's the day.   I'm not going to

  9 continue.    I've got, you know, the whole day booked if I needed

 10 it because I wasn't sure what you all were going to want to put

 11 on.

 12             MR. GAMEROS:    Your Honor, we'd agree with that.

 13             MR. MORRIS:    Your Honor, I'm sorry to interrupt, but

 14 a waiver of any appeal, too.      I just hard that if that's what

 15 you want to put in the order, that's okay.          But this case has

 16 to end, and that's what we're looking for.

 17             We're a post-confirmation estate that will not go

 18 forward with the possibility hanging over its head that it may

 19 be divested of this asset.      That is what this proof of claim

 20 and this dispute is about.

 21             And what the debtor needs in order to avoid legal

 22 prejudice is the complete elimination of any uncertainty that

 23 it owns 46.06 percent of SE Multifamily.          And if HCRE is not

 24 willing to give that comfort today, we again renew our request

 25 for a direction that the three HCRE witnesses appear for



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                                                                    Appx. 01440
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  1 substantive depositions and we get this on the trial calendar.

  2             MR. GAMEROS:    Your Honor, we'll agree to it.

  3             THE COURT:    Well, you know what, this is such a big

  4 deal I really need a client representative to say that.          It

  5 would be that --

  6             MR. GAMEROS:    I don't have one here today, but I can

  7 get you one.

  8             THE COURT:    How soon --

  9             MR. GAMEROS:    Do you want me to file a stipulation or

 10 an affidavit?

 11             THE COURT:    Pardon?

 12             MR. GAMEROS:    Do you want me to file an affidavit?

 13             THE COURT:    Well, let's be a hundred percent clear.

 14 Your client would state that with the granting of the motion to

 15 withdraw proof of claim number 146, HCRE is irrevocably waiving

 16 the right to ever challenge Highland Capital Management's 46

 17 percent interest -- and I know it's 46-point something -- 46

 18 percent interest in SE Multifamily Holdings, LLC and is,

 19 likewise, waiving the right to appeal or challenge the order to

 20 this effect.

 21             MR. MORRIS:    Your Honor, if I may, perhaps we can

 22 take a ten-minute recess and allow him to consult with his

 23 client and perhaps get a client representative on the phone who

 24 can make that representation?

 25             THE COURT:    All right.    Mr. Gameros, you think you



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                                                                   Appx. 01441
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  1 can get a client rep on the WebEx?

  2              MR. GAMEROS:    I'm pretty sure I can, Your Honor.

  3              THE COURT:    All right.   Well, how about we take a 15-

  4 minute recess.     Does that sound a reasonable amount of time?

  5 We've got, you know, two dozen people --

  6              MR. GAMEROS:    It does, Your Honor.

  7              THE COURT:    Two dozen people on the WebEx.    I don't

  8 know if maybe one is a client representative, but we'll take a

  9 15-minute break and I'll come back.       Okay.

 10              THE CLERK:    All rise.

 11       (Recess at 10:33 a.m./Reconvened at 10:50 a.m.)

 12              THE CLERK:    All rise.

 13              THE COURT:    Please be seated.

 14              We're back on the record in Highland.

 15              Mr. Gameros, how did you want to proceed now?

 16              MR. GAMEROS:   Your Honor wanted me to get a

 17 representative of NexPoint Real Estate Partners to state that

 18 they agree that the estate has its 46 percent interest in the

 19 company agreement subject to the company agreement.         And I've

 20 got Mr. Sauter here who has authority to speak on behalf of

 21 NexPoint Real Estate Partners.

 22              THE COURT:    All right.   Well, so what is his position

 23 with HCRE?

 24              MR. SAUTER:    Your Honor, I don't have -- this is DC

 25 Sauter.    I don't have an official position with HCRE, but I



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                                                                   Appx. 01442
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                                                                            36
  1 have spoken with Mr. Dondero and he has authorized me to appear

  2 here today and agree to the conditions that Mr. Gameros just

  3 outlined.

  4             THE COURT:   All right.    Well, it sounds like hearsay

  5 to me.    I don't know -- Counsel, let me have you both respond.

  6 You know, I worry about this will fall apart the minute Mr.

  7 Dondero is instructing a lawyer, I never agreed to that.            I

  8 mean I just don't know.      This is highly unusual.

  9             First --

 10             MR. GAMEROS:    Your Honor, if I might?

 11             THE COURT:   Please.

 12             MR. GAMEROS:    Mr. Sauter is an officer of the Court.

 13 He works, you know, with Mr. Dondero at his business at

 14 NexPoint; certainly an authorized agent on behalf of NexPoint

 15 Real Estate Partners to make this agreement on behalf of

 16 NexPoint Real Estate Partners.

 17             To the extent that the condition that you originally

 18 described as a conclusory matter, in other words, how to end

 19 the withdrawal, we already agreed to that, that we also can

 20 agree on the record to waive any appeal.          Mr. Sauter is

 21 authorized to agree to that, as well.

 22             So I think as an agent and a lawyer on behalf of

 23 NexPoint Real Estate Partners, he's fully able to do that.

 24             THE COURT:   How do I know he's able to do that?

 25             And, by the way, if Mr. Dondero is in I guess the



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                                                                      Appx. 01443
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                                                                            37
  1 last 15 minutes given him authority to testify before the

  2 Court, why couldn't Dondero just get on the WebEx himself?

  3             MR. SAUTER:    Your Honor, I think he felt more

  4 comfortable with me being a lawyer agreeing to those terms so

  5 that he wouldn't misstate something.        He has been listening.      I

  6 believe he's still on, although I'm not certain.

  7             THE COURT:     Mr. Morris, do you want to respond?      I

  8 mean I'm not sure, frankly, I care what you say, no offense.            I

  9 don't think I have a person with clear authority here.

 10             MR. MORRIS:    I'll just be quick and say I agree.

 11             THE COURT:    Okay.   Mr. Gameros --

 12             MR. GAMEROS:    As an attorney for NexPoint Real Estate

 13 Partners, I have the authority to make that agreement on the

 14 record and it be binding.      Mr. Sauter is confirming that

 15 authority having spoken with Mr. Dondero about it.

 16             I think that the Court is fully --

 17             THE COURT:    Mr. Gameros --

 18             MR. GAMEROS:    -- capable of doing that --

 19             THE COURT:    Mr. Gameros, come on.      You know this is

 20 the client's decision to make.      Okay.   I don't have a client

 21 representative.     I don't have an officer or controlling

 22 equityholder as evidence here of --

 23             MR. MORRIS:    Mr. Dondero --

 24             THE COURT:    -- the willingness to make the agreement.

 25             Pardon?



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                                                                    Appx. 01444
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                                                                          38
  1             MR. MORRIS:    Can Mr. Dondero make the representation

  2 on the record to the Court that he is authorizing Mr. Sauter to

  3 waive any claim that HCRE has to Highland's 46.06 percent

  4 interest in SE Multifamily along with any appeal?         This is just

  5 step one.    But if Mr. Dondero was on the phone, let him speak

  6 up and make it crystal clear that he is delegating the full

  7 authority to Mr. Sauter to negotiate and enter into this

  8 consensual order on behalf of HCRE.

  9             THE COURT:    All right.    Mr. Gameros, do you want to

 10 give your client authority to speak up?       Your client

 11 representative, someone who's actually an officer or a

 12 controller or equity owner?

 13             MR. GAMEROS:    Your Honor, if Mr. Dondero can do that,

 14 that would be great.      I don't know if he's in a place where he

 15 can do that.

 16             THE COURT:    All right.   Mr. Dondero, if you can hear

 17 us, are you willing to give some quick testimony in that

 18 regard?

 19       (No audible response)

 20             MR. DONDERO:    I can't see the box --

 21             UNIDENTIFIED SPEAKER:      Surprising that -- surprising

 22 he was on the phone before, but now he's not after delegating.

 23 Just I'm not --

 24             MR. SAUTER:    Your Honor, he's on the phone.      I'm just

 25 -- if you will give me a minute, I got to run around the corner



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                                                                   Appx. 01445
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                                                                          39
  1 and try to make sure he knows how to unmute himself.

  2             THE COURT:   Star 6.     If he's on a phone, star 6 is

  3 the way to unmute himself.       But I want to see video, too.

  4             THE OPERATOR:    There we go.    Try again.

  5             MR. DONDERO:    Hello?

  6             THE COURT:   All right.

  7             MR. DONDERO:    Hello?

  8             THE COURT:   Mr. Dondero, is that you?

  9             MR. DONDERO:    It's me.    I've been on the entire time.

 10             THE COURT:   All right.    Can you turn your video on,

 11 please?

 12             MR. DONDERO:    I am on my cell phone.

 13             THE COURT:   Okay.     Well, so I guess you just called

 14 in on your cell phone, you don't have a WebEx connection on

 15 your cell phone?

 16             MR. DONDERO:    I don't have a WebEx.

 17             THE COURT:   Okay.     Well -- yeah, it sounded like you

 18 were in the same office as Mr. Sauter.       Is that -- did I

 19 misunderstand?

 20             MR. DONDERO:    We work in the same office.     I'm in my

 21 car.    I just stepped out of my car.

 22             THE COURT:   All right.    Well, this is not ideal, you

 23 know, without us seeing you.       But I'll go ahead and swear you

 24 in.    All right.   Can you hear me okay?    I need to swear you in.

 25             MR. DONDERO:    Yes.



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                                                                   Appx. 01446
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                                  Dondero - Direct                       40
  1              THE COURT:     All right.

  2                 JAMES DONDERO, HCRE'S WITNESS, SWORN

  3              THE COURT:    All right.

  4              Mr. Gameros, do you want to ask him the questions we

  5 need to hear answers on, please?

  6              MR. GAMEROS:    Thank you, Your Honor.

  7                             DIRECT EXAMINATION

  8 BY MR. GAMEROS:

  9 Q     Mr. Dondero, on behalf of HCRE, do you agree as a

 10 condition for withdrawing the proof of claim that HCRE will not

 11 challenge the estate's ownership or equity interest in SE

 12 Multifamily subject to the company agreement?

 13 A     Yes.

 14 Q     Do you agree that you will not appeal and that, therefore,

 15 HCRE is waiving any appeal right to that determination as a

 16 condition of withdrawing the proof of claim?

 17 A     Yes.

 18              MR. GAMEROS:    Those are the questions for Mr.

 19 Dondero.

 20              MR. MORRIS:    Your Honor, if I may?

 21              THE COURT:    Mr. Morris, you may.

 22              MR. MORRIS:    I'm very uncomfortable.    I'm very

 23 uncomfortable with the inclusion of the language subject to the

 24 company agreement.     It sounds like a very conditional waiver.

 25 We need an irrevocable unconditional admission by HCRE that



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                                                                   Appx. 01447
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                                                                         41
  1 Highland owns 46.06 percent of SE Multifamily, period, full

  2 stop.    If they want to keep conditions in there and make it

  3 conditional and make it subject to other things, let's please

  4 deny the motion and proceed to trial.

  5              THE COURT:    All right.   Well, Mr. --

  6              MR. GAMEROS:    The equity that they own is part of the

  7 company agreement.     It's not modifying the company agreement by

  8 saying.

  9              THE COURT:    Well --

 10              MR. MORRIS:    Our ownership is not subject to the

 11 agreement.    We either have an ownership interest or we don't.

 12 Our rights and obligations as a member of SE Multifamily are

 13 subject to the agreement, but our ownership interest is not.

 14 And that's the ambiguity that we need to remove.

 15              THE COURT:    Okay.   Well, Mr. Gameros, do you want to

 16 rephrase the question or are you not willing to make the

 17 agreement as specific as Mr. Morris says he needs it?

 18              MR. GAMEROS:   That's what I'm -- I guess I don't

 19 understand what his complaint is.       If the estate owns 46

 20 percent of the equity of SE Multifamily, it owns that subject

 21 to the company agreement.      It's not a separate ownership

 22 interest.    So I don't know what the problem is.

 23              THE COURT:    Okay.   Let me try to phrase it as I

 24 understand it.

 25              What I understand has been asserted in the proof of



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                                                                   Appx. 01448
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                                                                         42
  1 claim is that what was set forth in the agreement was a

  2 mistake, okay.     A mistake.   And it sounds like you're using

  3 language that says we'll agree the agreement, you know, they

  4 have a 46 percent interest pursuant to the agreement.          But that

  5 doesn't change -- that does not really zero in on the argument

  6 made in the proof of claim that there was a mistake in the

  7 agreement, right?

  8             So you'd have to go broader to completely resolve the

  9 issues raised in your proof of claim and say we agree, Highland

 10 has a 46.06 interest in SE Multifamily and we agree that is

 11 correct and we waive any right to challenge it in the future

 12 and we waive any right to appeal this order.

 13             MR. GAMEROS:    And, Your Honor, if that's the

 14 condition, I guess my concern is that the 46 percent is still

 15 part of the company agreement.      We agree not to challenge it on

 16 the basis of anything asserted in the proof of claim, that

 17 being mistake, lack of consideration, or failure of

 18 consideration.     Their 46 percent is their ownership interest in

 19 SE Multifamily and HCRE won't challenge that.

 20             Is that sufficient?

 21             THE COURT:   Well, I need to hear from your client.       I

 22 mean he needs to be asked every which way from Sunday whether

 23 he is waiving the right to challenge Highland's 46.06 interest

 24 from now until eternity, okay.      That's basically, you know, we

 25 either have that agreement or we'll just have a trial.



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                                 Dondero - Direct                          43
  1                     CONTINUED DIRECT EXAMINATION

  2 BY MR. GAMEROS:

  3 Q     Mr. Dondero, do you agree that NexPoint Real Estate

  4 Partners will not challenge in any way the estate's interest in

  5 SE Multifamily, its 46-point whatever percent interest that is?

  6 A     I think the nuance is that agreement is okay in current as

  7 of today.    But it's part of an operating agreement, and that

  8 percentage ownership can change due to capital calls and other

  9 things.    And it could change over time.       It's never in a

 10 partnership agreement fixed into perpetuity.         And so no

 11 businessman can agree to that.

 12       If the Court wants it fixed into perpetuity, that would be

 13 very odd.

 14              MR. MORRIS:   Can we go to trial, Your Honor?        Can we

 15 just deny the motion and go to trial?       Let me have my

 16 depositions and go to trial.      This is -- if Mr. Dondero wants

 17 to take that position, he's welcome to do that.         But I'm

 18 entitled to finality, and I'd like to get there.

 19              THE COURT:    All right.   Well, Mr. Gameros, anything

 20 else you want to ask your client that you think might be

 21 helpful?

 22 BY MR. GAMEROS:

 23 Q     Mr. Dondero, you desire to withdraw the proof of claim.

 24 Correct?

 25 A     Yes.



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                                                                         44
  1 Q     And you agree to an order denying the proof of claim with

  2 prejudice.    Correct?

  3 A     Yes.

  4 Q     And can you agree that HCRE will not challenge the equity

  5 ownership of its member in SE Multifamily of the estate?

  6 A     Yes.

  7              MR. GAMEROS:    Your Honor, I think there it is.

  8              THE COURT:    Mr. Morris, do you have any --

  9              MR. GAMEROS:    He agrees.

 10              THE COURT:    -- do you have any follow-up questions --

 11              MR. MORRIS:    The waiver of the right to --

 12              THE COURT:    -- Mr. Dondero?

 13              MR. MORRIS:    The waiver of the right to any appeal

 14 whatsoever.    And I do have -- you know, there are the other

 15 conditions that we mentioned earlier, right?         Either they have

 16 to also agree that Mr. Seery's deposition transcript shall

 17 never be used for any purpose at any time or they need to level

 18 the playing field and submit their witnesses to examination.

 19              The playing field needs to be level here.      Either if

 20 they want to use that deposition transcript for some purpose, I

 21 have no problem with that.      Just let me take my depositions.

 22 If they don't want to submit their witnesses to depositions,

 23 then they also have to agree that that transcript will never be

 24 used for any other purpose.      It's as if this proof of claim has

 25 never been filed, right, for that purpose, right.         Because



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                                                                   Appx. 01451
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                                                                           45
  1 that's just not fair.      That's the legal prejudice.

  2             How do you take my client's deposition on Wednesday

  3 and file this motion on Friday knowing your client's supposed

  4 to be deposed on Tuesday?      Level the playing field.     That's

  5 conditional number two.

  6             And condition number three, frankly, Your Honor, this

  7 proof of claim was fraudulent.      I mean my client has been

  8 damaged.    My client has spent an enormous amount of money on

  9 this, and I'd like them to agree to if not make us whole, you

 10 know, do something because it's wrong.       It's just wrong that

 11 Mr. Dondero files proofs of claim under penalty of perjury that

 12 have absolutely no basis in fact.

 13             It's distressing.     I'd like those two last issues

 14 addressed, as well.

 15             MR. GAMEROS:    Your Honor, in terms of the Court's

 16 questions in terms of finality with respect to the membership

 17 interest in SE Multifamily, Mr. Dondero agrees with the Court.

 18 He's already said that he won't waive -- that he waives, rather

 19 -- I'm sorry, let me start again.

 20             He has said very clearly that he has waived appeal of

 21 this order allowing the withdrawal of the proof of claim with

 22 the conditions that you asked for.       I think you should grant

 23 the motion to withdraw and we can put an end to all of this.

 24             THE COURT:    Okay.

 25             MR. MORRIS:    Here's the thing, Your Honor.     We know



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                                                                   Appx. 01452
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                                                                           46
  1 there's going to be more litigation with HCRE.         We know they've

  2 breached the contract.      We know because the evidence is in the

  3 record.     We know that Highland demanded access to books and

  4 records as is its contractual right back in June.         We know that

  5 that notice was sent to all of Mr. Dondero's lawyers and HCRE's

  6 lawyers.    And we know that that request has been absolutely

  7 categorically ignored.      Okay?

  8              We are going to --

  9              MR. GAMEROS:    This has nothing to do with the proof

 10 of claim.

 11              MR. MORRIS:    We are going to get -- well, no.

 12              To be clear, Your Honor, that is what's driving this

 13 concern is because we know that there's going to be additional

 14 litigation.    We know the tax forms are not accurate.       We know

 15 there's already an existing breach of contract.

 16              And what we're trying to make sure is that HCRE is

 17 not able to resurrect this concept that we don't have an

 18 ownership interest, that it's not 46.06 percent, that Mr. Seery

 19 made some admission that they're going to use in some future

 20 litigation.    That's the prejudice, okay.

 21              So I think step one is (indiscernible), but then we

 22 need either an agreement that the transcript isn't going to be

 23 used elsewhere or that I get the deposition of the HCRE

 24 witnesses because it's unfair prejudice to use this process to

 25 take that deposition on Wednesday, August 10th and to file this



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                                                                   Appx. 01453
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                                                                         47
  1 motion on Friday, August 12th.       That is unfair prejudice for

  2 them to have taken my client's sworn testimony and then shut it

  3 down before I could take theirs.

  4              So either eliminate it all or let it all in, right?

  5 It can't be.    They can't possibly benefit from this.

  6              THE COURT:    Let me understand something, Mr. Morris,

  7 you just said.     We know we're going to have future litigation.

  8 I mean I'm not asking for revelation of attorney-client

  9 privilege, but -- communications, but you kind of dangled it

 10 out there.

 11              You're saying that the reorganized debtor intends to

 12 file litigation against HCRE because of what you think are

 13 breaches by it as manager of SE Multifamily of the existing

 14 agreement.

 15              MR. MORRIS:    The evidence is already in the record,

 16 Your Honor.    We have -- Highland as a member of SE Multifamily

 17 has the contractual right to obtain access to inspect and copy

 18 -- those are the words, inspect and copy SEC [sic]

 19 Multifamily's books and records.

 20              We made that request at the end of June.      It's one of

 21 the exhibits that's attached that's in the record now.          I made

 22 probably three different follow-up emails, and it's been

 23 completely ignored, okay.

 24              HCRE is the manager of SE Multifamily, right.

 25 They're in control.       They're the ones who dictate how the



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                                                                   Appx. 01454
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                                                                          48
  1 accounting is done.     They're the ones who dictate how

  2 distributions are made.      They're the ones who dictate how tax

  3 forms are prepared.     They have an obligation under the amended

  4 and restated agreement to cause SE Multifamily to prepare the

  5 tax returns.    They're the ones who are in direct contact with

  6 Barker Vigotto.

  7             There's a whole host of issues we're going to

  8 examine, but the one thing that I do know for certain, Your

  9 Honor, is that they are in breach of the agreement today

 10 because they have refused for three months now to give us what

 11 we're entitled to.     And that is access to inspect and copy SE

 12 Multifamily's books and records.

 13             So unless they agree to do that, and I mean pretty

 14 soon, we're not going to have any alternative.         If you recall,

 15 Your Honor, Mr. Dondero's trust, the Dugaboy Trust, filed this

 16 valuation motion which we'll address in due course.         I don't

 17 know where they got the number, but according to Mr. Dondero's

 18 trust, Highland's interest in SE Multifamily is worth $20

 19 million.    This is not a small asset.     This is not harassment.

 20             But they're not complying with their contractual

 21 obligation to give us access to inspect and copy SE

 22 Multifamily's books and records.       For a $20-million asset where

 23 it's -- I mean they're conceding now that we're the owner of

 24 those membership interest.      How can they deny us access?

 25             And if they don't give us that access so that we can



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                                                                   Appx. 01455
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                                                                           49
  1 verify the value of this asset, so that we can verify whether

  2 or not we've gotten the distributions that we're entitled to,

  3 so that we can verify that the profits and losses that have

  4 been allocated to Highland were actually proper and consistent

  5 with the agreement, I'm afraid that there will be further

  6 litigation, and that's why we need to -- we need to nail this

  7 down right now because I don't want to get a counterclaim that

  8 says we left the deal open to challenging Highland's interest

  9 in SE Multifamily.     That door needs to close today.

 10             THE COURT:    Okay.   All right.   Well, I'm going to

 11 start out by saying we're in a very unusual procedural posture.

 12             Before I forget, Mr. Gameros, I meant to mention this

 13 at the very beginning.      The motion to withdraw the proof of

 14 claim of your client, you had an odd way of signing it.          I

 15 wonder if this was a mistake or you always sign this way.            You

 16 signed the pleading signature Charles W. Gameros, Jr., PC.

 17             Is that -- was that inadvertent or do you always sign

 18 that way?    I mean a lawyer's supposed to personally sign under

 19 Rule 11 a pleading.      Was that just inadvertent or do you think

 20 that's fine?

 21             MR. GAMEROS:    I've used that signature block for over

 22 20 years, and I've never -- no one has ever asked.         I thought

 23 it was fine.

 24             THE COURT:    Okay.   Well, no one's ever asked and you

 25 think it's fine.     I think you need to go back and do some



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                                                                   Appx. 01456
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                                                                          50
  1 research on that, okay.      I'm not sure it's fine.     I'm not sure

  2 it's fine.

  3              I mean you would agree that you're personally bound

  4 under Rule 11 when you file a pleading, right?

  5              MR. GAMEROS:   Yes, Your Honor.

  6              THE COURT:   I mean I know it feels a little different

  7 if you're -- well, I don't know.        You're not a -- you have a

  8 firm, Hoge & Gameros, L.L.P.         I mean it wouldn't be

  9 appropriate for Mr. Morris to sign a pleading Pachulski Stang,

 10 right?    He has to sign his name personally on a pleading,

 11 right?

 12              MR. GAMEROS:   Your Honor, I'll make that change.

 13              THE COURT:   Okay.

 14              Well, so we're in an unusual procedural context.        We

 15 I think all agree that Bankruptcy Rule 3006 is the applicable

 16 authority, and it provides that, you know, a creditor can't

 17 just withdraw a claim when there's been an objection filed to

 18 it.   There has to be notice and an order from the Court.

 19              And so we don't run into this situation very often,

 20 but I have seen it before.        And as someone or both correctly

 21 noted, it is a rule that sort of goes to the integrity of the

 22 system.    Filing a proof of claim is obviously a very

 23 significant act in the context of a bankruptcy case.

 24              You file a proof of claim under penalty of perjury so

 25 it's a big deal from, you know, a criminal exposure standpoint



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                                                                   Appx. 01457
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                                                                          51
  1 but it's also a big deal because we want to make sure only

  2 parties with legitimate claims are given a seat at the table,

  3 so to speak, in bankruptcy as far as, you know, their right to

  4 a distribution, their right to be heard in a case.

  5             So, you know, that's the reason for the rule.        We

  6 don't see it come into play very often, but it's there because

  7 we want to make sure that we protect the integrity of the

  8 bankruptcy process.     And if someone files a proof of claim and

  9 it's pending and, you know, activity happens in the bankruptcy

 10 case as a result of it, that we don't just let a party say

 11 never mind.

 12             So the Manchester case, which you both cited in your

 13 pleadings, has set forth fact-intensive factors -- fact-

 14 intensive inquiry.     And, again, I'm just looking at HCRE's

 15 motion, Page 7.     There was a chart and it sets forth the

 16 Manchester factors.     Factor number one, diligence in bringing

 17 the motion to withdraw the proof of claim.

 18             In Mr. Gameros' chart, his response to that factor is

 19 that HCRE brought its motion to withdraw immediately after

 20 conferring with debtor's counsel.       I don't even know what that

 21 means, okay.    But what I do know is in looking at diligence of

 22 bringing the motion, the proof of claim was filed April 8th,

 23 2020.    It was objected to, the proof of claim, July 30th, 2020.

 24 And then on August 12th, 2022, this motion to withdraw the

 25 proof of claim was filed.



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                                                                   Appx. 01458
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                                                                          52
  1              So two years and one month after the objection was

  2 filed to the proof of claim HCRE withdraws it.         So that doesn't

  3 seem very diligent.      It's not diligent at all, to be honest.

  4              Your second factor, you cited, Mr. Gameros, undue

  5 vexatiousness, and you say HCRE has not been vexatious in

  6 pursuing its proof of claim.      And outside the motion to

  7 disqualify previous counsel, which is not substantive,

  8 everything in the matter has proceeded by agreement and there

  9 have been no hearings set or held.

 10              Okay.    Well, debtor has represented in its pleadings

 11 and today through counsel on the record that it has spent

 12 hundreds of thousands of dollars litigating this.         It has

 13 mentioned that four depositions have been taken.         It was Mr.

 14 Mark Patrick.     It was the tax accounting firm.      We had the B --

 15 the entity -- BH Equities, LLC, their representative.          And then

 16 Mr. Seery.    So four depositions, and I'm told a lot of written

 17 discovery.

 18              And on the day before the -- well, the day after, day

 19 or two after the Seery deposition, the motion to withdraw the

 20 proof of claim was filed after 5:00 in the evening on a Friday,

 21 August 12th, and I guess a couple of business days before the

 22 depositions were to occur of Mr. Dondero and the fellow, Mr.

 23 McGraner, and I feel like there was one other deposition.          I'm

 24 losing track of those.

 25              But --



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                                                                   Appx. 01459
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                                                                         53
  1              THE CLERK:    The 30(b)(6).

  2              THE COURT:    Oh, the 30(b)(6).   The 30(b)(6)

  3 representative.

  4              So on top of all of that, you know, Highland argues

  5 there was just simply no good-faith basis for the proof of

  6 claim.    Proof of claim asserted the membership interest,

  7 Highland's 46.06 interest, set forth in the Multifamily LLC

  8 agreement were the result of mistake.

  9              Mr. Dondero signed the agreement for both parties,

 10 HCRE and Highland.     And then now the motion to withdraw says

 11 something to the effect of the anticipated issues have not

 12 materialized.     So anyway, the undue vexatiousness factor I

 13 think weighs -- because of these factors I've mentioned, weighs

 14 in favor of there has been undue vexatiousness.

 15              Factor number three, according to HCRE's motion to

 16 withdraw the proof of claim, is matter's progression including

 17 trial preparation.     Again, four depositions, thousands of pages

 18 of written discovery.      We were days away from the last

 19 depositions occurring, those of HCRE's potential witnesses and

 20 we have trials set.       We have a trial set in November.     So that

 21 factor, again, seems to weigh heavily in favor of Highland's

 22 objection here.

 23              Duplication of expense of relitigation, here's why we

 24 got Mr. Dondero on the phone or wanted to have a witness with

 25 authority.    Highland is saying we are concerned about



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                                                                   Appx. 01460
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  1 relitigation of this ownership interest issue.         And as part of

  2 its argument, Highland has said we've got claims, we've got our

  3 own claims for breach of agreement and different things that

  4 are going to cause us to have to drill down on terms of the LLC

  5 agreement.

  6              And we can't -- we don't want to face exposure on

  7 this issue of, well, you don't have the ownership interest or

  8 the rights you say you do, Highland.       So, you know, if we could

  9 get ironclad language here of, you know, we waive the right, we

 10 agree that Highland has the 46.06 interest and we waive the

 11 right to challenge that, then I don't think we'd have to worry

 12 about relitigation of the issues in the proof of claim.          But it

 13 feels like we had a little bit of reluctance to say it as

 14 forcefully as we would need to have it said to avoid

 15 relitigation.

 16              Reason for dismissal, I don't know.      I don't know

 17 what the reason for dismissal.      Again, to quote HCRE's pleading

 18 on Page 7, the reason for dismissal is, "The operation of the

 19 company" -- I think that means SE Multifamily -- "during the

 20 case and the anticipated issues therewith have not materialized

 21 and NREP no longer desires to proceed in the matters raised in

 22 the proof of claim."

 23              I mean that's just not in sync with the theory

 24 espoused in the proof of claim that we think there was a

 25 mistake made in the LLC agreement.       So, again, looking at these



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                                                                   Appx. 01461
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  1 legal factors, I do not think that the correct result is to

  2 grant the motion to withdraw the proof of claim under Rule 3006

  3 under the Manchester factors.      I will throw in that I think

  4 there is potential for prejudice here of the debtor.

  5              I mean not even considering that hundreds of

  6 thousands of dollars have been spent over two-plus years on

  7 this issue, you know, I remember very well the disqualifying

  8 motion.    And I said Wick Phillips should be disqualified.        I

  9 didn't shift fees because I just wasn't sure at the time that,

 10 frankly, HCRE should be imposed with the fees attributable to

 11 its lawyers, not recognizing the conflict of interest when they

 12 saw one.    It was just a little fuzzy in my mind.

 13              But I'm just letting you know that now that we are

 14 here many years later, many months later and we have all the

 15 sudden, okay, never mind, this is just a situation where I have

 16 some regrets I didn't shift fees, to be honest.         But -- so the

 17 motion is denied.     The depositions shall go forward.      I'm not

 18 sure, you know, if the dates that have been proposed are still

 19 workable, but if someone wants to speak up now about those

 20 deposition dates to avoid an emergency hearing, I'm willing to

 21 hear that.

 22              I think what I heard was, well, I don't know what --

 23 have you talked about dates at all?       Probably not, Mr. Morris,

 24 in light of this hearing today.

 25              MR. MORRIS:   We have not, Your Honor.     But I do think



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                                                                   Appx. 01462
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  1 that Counsel and I can work that out.       I'm not available until

  2 the week of the 26th.      So it won't be early that week but

  3 sometime between let's say the 28th of September and the 7th of

  4 October, I'll be prepared to take these depositions.          And I

  5 would respectfully request, and we can work with Ms. Ellison to

  6 try to find a trial date sometime the last week of October,

  7 first week of November so we can get this finished.

  8             THE COURT:    Okay.    Did I dream up that there was a

  9 trial set already in November?

 10             MR. MORRIS:    You know what?

 11             You know what, let's just keep that date, Your Honor.

 12 Let's just keep that date.

 13             THE COURT:    All right.   Traci, are you still on the

 14 line?    Can you confirm my memory?     I thought we had a two-day

 15 trial set aside for this in November.

 16             MS. ELLISON:    Is this on the merits of HCRE's claims,

 17 Judge Jernigan?     I have a note holding November 1 and 2.

 18             THE COURT:    Okay.

 19             MR. MORRIS:    Yeah.

 20             THE COURT:    So we'll go ahead and mark that down.

 21             Now the last -- so you'll work on an a mutually

 22 agreeable date for these three remaining depositions sometime,

 23 you know, late September, early October.          And I trust you will

 24 --

 25             MR. MORRIS:    Yeah.   I would respectfully request that



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                                                                    Appx. 01463
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  1 Counsel just propose dates for the depositions.         I'll wait to

  2 hear from him.     But I think -- I'm representing to the Court

  3 that any time between September 28th and let's just give it two

  4 full weeks, October 12th.      That's plenty of time in advance of

  5 the trial.

  6              THE COURT:   All right.   Mr. Gameros, anything you

  7 want to add on that?

  8              MR. GAMEROS:   No, Your Honor.   I'm sure we can work

  9 with Mr. Morris to get those scheduled.

 10              THE COURT:   All right.   And here's actually the last

 11 thing I wanted to say.

 12              You know, I had thought about, you know, waiting 24

 13 hours to give you a ruling on this motion to withdraw the proof

 14 of claim and directing you all to kind of talk and see if maybe

 15 you could work out language, you know, without the pressure of

 16 the Court hovering over you that could make both of your

 17 clients satisfied.

 18              I still encourage you to do that, but I'm going to

 19 pick on our U.S. Trustee.      I see she's observing today, and I'm

 20 not going to ask you to say anything, Ms. Lambert.         But if you

 21 all do agree, if you all in the next, you know, 24 hours come

 22 to some sort of agreement, I don't mean to be alarming, but I

 23 want it run by the U.S. Trustee because, you know, I've heard

 24 some things that have troubled me about the, you know, lack of

 25 good faith with regard to the proof of claim and, you know,



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                                                                   Appx. 01464
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  1 alleged gamesmanship.

  2             And, you know, I talked earlier about this goes to

  3 the integrity of the system, you know, filing a proof of claim

  4 under penalty of perjury.      Anyway, I'm feeling a little bit

  5 uncomfortable about signing off on an agreed order where there

  6 may be quid pro quos that went back and forth in connection

  7 with withdrawing a proof of claim.       I mean at some point --

  8 well, that's why we have scrutiny of these things under Rule

  9 3006, right?

 10             Again, there are integrity issues.       And so I just --

 11 you know, if you were to work out language, I want you to run

 12 it by Ms. Lambert and I want to hear that either she was okay

 13 with it or she wasn't okay with it or maybe she declines to

 14 comment.    You know, I'm not going to tell her how to do her

 15 job, but I feel like that needs to happen, okay?

 16             It's just something uncomfortable going on in my

 17 brain about, you know, again a proof of claim being on file

 18 two, almost two and a half years and then, you know, okay,

 19 never mind, okay, I agree to never mind as long as you agree to

 20 XYZ.

 21             And I have no idea what's in the Seery transcript.        I

 22 don't have it before me.      But, you know, I don't even know what

 23 that's all about.     I don't even know if I care what that's all

 24 about.    I just know if there are quid pro quos I feel like, you

 25 know, maybe I need to have the U.S. Trustee, you know, not per



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  1 se signing off on any agreed order but at least kind of looking

  2 at it and telling me either U.S. Trustee's fine with it, U.S.

  3 Trustee is not fine with it, or U.S. Trustee declines to

  4 comment.    Just I know that I've gone through the drill, okay?

  5             So just letting you know I am still, you know, all

  6 open to an agreed resolution of this, okay.         But we're going

  7 forward as if you can't get there, okay?

  8             All right.    I'll look for -- what am I going to look

  9 for?    I'm going to look for an order denying the motion to

 10 withdraw proof of claim.      I'm going to look for an order

 11 granting the -- well, an order resolving the objection to

 12 motion to quash and cross-motion for subpoenas saying that

 13 these three witnesses are going to appear at a mutually

 14 agreeable time either late September or early October.

 15             All right.    We're adjourned.

 16             THE CLERK:    All rise.

 17             MR. MORRIS:   Thank you, Your Honor.

 18        (Proceedings concluded at 11:35 a.m.)

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  1                       C E R T I F I C A T I O N

  2             I, DIPTI PATEL, court-approved transcriber, certify

  3 that the foregoing is a correct transcript from the official

  4 electronic sound recording of the proceedings in the above-

  5 entitled matter, and to the best of my ability.

  6

  7 /s/ Dipti Patel

  8 DIPTI PATEL, CET-997

  9

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